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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

PHYLLIS ELLIS, as Administrator of the Estate )
of Terrance Jenkins,                          )
                                              )
                     Plaintiff,               )
                                              )
                     v.                       )                 Case No. 16 C 9449
                                              )
RANDY PFISTER, et al.,                        )
                                              )
                     Defendants.              )                 Hon. Amy St. Eve

                               DECLARATION OF SARAH GRADY

        I, Sarah Grady, declare under penalty of perjury that the following is true and correct:

        1.      I am over eighteen years old and I have personal knowledge of all of the facts

mentioned herein.

        2.      I am counsel for Plaintiff Phyllis Ellis, as Administrator of the Estate of Terrance

Jenkins.

        3.      Plaintiff Phyllis Ellis resides in Chicago, Illinois.

        4.      Plaintiff’s son, Terrance Jenkins, Jr. also resides in Chicago, Illinois.

        5.      Prior to his incarceration in the Illinois Department of Corrections, Terrance Jenkins,

Sr., resided in Chicago, Illinois.

        6.      Upon information and belief, Defendant Randy Pfister resides at

    Lockport, Illinois

        7.      Upon information and belief, Edward Clemmons, a witness in this case, resides at

                    Oak Lawn, Illinois

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct.
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                                            Respectfully submitted,

                                            /s/ Sarah Grady
                                            Sarah Grady

Dated:   February 15, 2017
